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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY



  SAM HARGROVE, et al.,                                   Civil Action No. 3:l0-cv-01 138-PGS-LHG

                Plaintiffs,

      V.                                                                 ORDER

  SLEEPY’S LLC,

                Defendant.




                                                    ORDER

           THIS MATTER having come before the Court on: (1) Sleepy’s Motion for Judgment

 on the Pleadings and to Dismiss All Claims (ECF No. 279); (2) Sleepy’s Motion for Default

 Judgment (ECF No. 280); (3) Plaintiffs’ Motion to Remove Default (ECF No. 281); and (4)

 Plaintiffs’ Renewed Motion for Class Certification; and the Court having carefully reviewed and

 taken into consideration the submissions of the parties, as well as the arguments and exhibits

 therein presented; and for good having been cause shown, and for all of the foregoing reasons,

           IT IS on this      day of March, 2022,

           ORDERED that Sleepy’s Motion for Judgment on the Pleadings and to Dismiss All

 Claims (ECF No. 279), including the rnoton to dismiss Counts 3 and 4, or alternatively strike the

jury demand are DENIED; and it is further;




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            ORDERED that Sleepy’s third-party crossclaims are DISMISSED sua sponte; and it is

 further;

            ORDERED that Plaintiffs’ Motion to Remove Default (ECF No. 281), is DENIED AS

 MOOT; and it further

            ORDERED that Plaintiffs’ Renewed Motion for Class Certification (ECF No. 297), is

 GRANTED in part with respect to liability and DENIED in part with respect to damages; and it

 is further.

            ORDERED that a status conference shall occur on May 17, 2022 at 11:00 a.m. by

 telephone. The Clerk shall provide the logistics for the call.




                                                       PETER G. SHERIDAN, U.S.D.J.
